       Case 3:05-cr-05828-RBL         Document 377        Filed 03/18/08     Page 1 of 1



 1

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9                                          AT TACOMA

10    UNITED STATES OF AMERICA,
11                   Plaintiff,
                                                               Case No. CR05-5828FDB
12           v.
                                                               ORDER FINDING MOTION FOR
13    BRIANA WATERS,                                           EXTENSION OF TIME TO BE
                                                               MOOT
14                   Defendant.
15
            Defendant Waters moves that May 2, 2008 be set as the date by which Defendant must file
16
     her substantive Fed. R. Crim. P. Rule 29(c) Motion for Judgment of Acquittal. On March 17, 2008,
17
     Waters filed her motion pursuant to Fed. R. Crim. P. 29, 33, and 34. Accordingly,
18
            IT IS ORDERED: Waters’ Motion for Extension of Time [Dkt. # 135] is found to be
19
     MOOT, and is stricken from the Court’s calendar.
20
            DATED this 18th day of March, 2008.



                                          A
21

22

23                                        FRANKLIN D. BURGESS
                                          UNITED STATES DISTRICT JUDGE
24

25

26   ORDER - 1
